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UNI'I`ED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

 

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DONALD c. HUTCHle )
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v. ) 7
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CARDIAC sCIENCE, INC_ ) RECEM ,__§r|;__[___
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COMPLAINT w 120 On 121 `
1"" -' "';;'FY cu' 7 -
Parties ___.'J "

l.) The plaintiff Donald C. Hutchjns (“I-Iutchins”) is an individual residing at 1047
Longrneadow Street, Longmeadow, Harnden County, Massachusetts and a citizen of the
United States.
2.) The defendant, Cardiac Science, Inc. (“Cardiac Science”) is incorporated in the

State of Delawa_re with a principal place of business at 1900 Main Street, Suite 700,

Irvine, California 92614.

Jurisdiction
3.) The court has jurisdiction over this matter pursuant to Section 271 U.S.C.
4.) Hutchins lives in Longmeadow, Massachusetts and is a citizen of the United States.
5 .) Ca_rdiac is a corporation with its headquarters in Irvine, California. Cardiac markets

products through the Channing Bcte Company/ Distributor of American Heart

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Association Products. The Channing Bete Company is a Massachusetts company

headquartered at One Cornmunity Place, South Deeriield, MA 01373.

Background
6.) On Apri122, 1986 Hutchins was issued U.S. Patent Number 4,583,524-tit1ed
“CARDIOPULMONARY RESUSCITATION PROMPTING” attached herein as part of
Exhibit A.
7.) On November 29, 1994 Hutchins was issued U.S. Reissued Patent Number
Re.34,8(}0-titled “CARDIOPULMONARY RESUSCITATION PROMPTING” attached
herein as part ofExhibit B_ The Patent ABSTRACT states in part, “A portable, self
powered electronic cardiopulmonary resuscitation prompting system . . .” This Reissue
Patent Number Re.34,800 is a reissue ofHutchins’ original Patent Number 4,583,524.
Patent Numbers 4,583,524 and Re.34,800 can be found on over 300,000 CPR Prompting
devises that have been marketed since 1984 and continue today as the standard of the
industry.
8.) On June 22, 1999 Hutchins was issued U.S. Patent Nurnber 5,913,685-tit1ed “CPR
Computer Aiding” attached herein as part of Exhibit C The Patent ABSTRACT states in
part, “a processing unit responsive to the information signals and for providing output
signals representative of proper steps to be taken in resuscitating the victim . . .”
9.) Donald C. Hutchins registered CPR prompting software in the form of written
instructions, program printouts and computer disk to the U.S. Copyright Of[ice at the

Library of Congress in 1986. The copyrighted software included logic, graphics and

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voice commands found in Hutchins’ U.S. Patent Number 4,583,524 and Reissue Patent
Nurnber Re.34,800 “reduced to practice”.

10.) On June 24, 1986 the United States Patent and Trademark Oflice registered the
trademark “CPR PROMPT” in the name of Donald C. Hutchins attached herein as
Exhibit D.

11.) In May of 2004 Hutchins realized that he had received no royalty payments or
reports from The Complient Corporation (“Complient”) since late summer in 2003.
When he telephoned the Complient headquarters he learned that Complient had closed its
operation

12.) Hutchins Was advised by the law oHice of Fish & Richardson that Complient had
also failed to pay the most recent patent fees to Fish & Richardson as they had done on a
regular basis since 1995. The accounts receivable department of Fish & Richardson
determined that Complient was no longer in business and suggested that Hutchins pay the
fees so the patents would not lapse. It was evident that Complient had abandoned the
intellectual properties they had licensed from Hutchins as successor to County Line
Limited and that the properties could be reclaimed by Hutchins.

13.) Atter learning that Complient was no longer in business, Hutchins made several
efforts to contact Complient to reclaim his intellectual properties, marketing materials
and tooling under terms of the June 1, 1994 Licensc Agreement. There is no longer a
listing for Complient in the Cleveland area and all notices nom Hutchins to Complient
management were left unanswered At this point Hutchins had no recourse but to declare
his intellectual properties abandoned by the Jon Lindseth group, reclaim them as

specified in the Agreernent and discuss licensing these properties to the Zoll Corporation.

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14.) On April 29, 2004 Hutchins received a phone call from Attorney Randall T. Skaar
who stated that he was a patent attorney representing Cardiac Science, Inc. Attorney
Skaar said that Mr. William Parker had filed a patent infringement against Cardiac
Science that involved patents that Hutchins had licensed to Complient Corporation. He
followed the telephone conversation With a letter he sent the next day herein attached as
Exhibit E.

15.) Hutchins had received no notification from Complient about the acquisition by
Cardiac Science and was told by his patent attorneys that Complient had abandoned his
patents, trademarks, and copyrights Hutchins learned that since November of 2003
Cardiac Science has been and continues to manufacture and sell products covered by
Hutchins’ patents and is using the CPR Prompt® trademark on goods that it markets As
a result Cardiac Science is infringing on these patents and trademark

16.) Hutchins telephoned the Cha.nning Bete Company/ Distributor of American Heart
Association Products. The Channing Bete Company is a Massachusetts company
headquartered at One Community Place, South Deerfleld, MA 01373. Channing Bete
confirmed that since November of 2003 the CPR Prompt® product line had been
manufactured and marketed by the Cardiac Science company of Irvine, CA. as disclosed
on a printout of their web site herein attached as Exhibit F.

17.) Attorney Skaar sent e-mail attachments to Hutchins herein attached as Exhibit G
that showed that Cardiac Science expected to use Hutchins’ Patent #5,913,685. Cardiac
Science has no legal claim to this patent. Its use by Cardiac Science would also infringe
on Hutchins’ properties At the same time Attomey Skaar said that he knew of no patent

attorney that had done due diligence on the Complient/Cardiac Science acquisition

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18.) Searches on the Internet provided Hutchins with press releases, security analyst
reports, and Security and Exchange Commission Forms 8-K and 10-K that conveyed
terms of the acquisition A report from Wedbush Securities contained herein as Exhibit
H condenses terms of the acquisition with these words, “Last week (October 21, 2003)
Cardiac Science announced the acquisition of privately-held Complient Corporation for
$47 million using 10.25 million shares of common stock_”

19.) Hutchins developed and contracted with Texas Instruments, Inc. to manufacture the
CPR Prompt® in the early 1980s Realizing that he lacked the financial resources to
bring a consumer model of the CPR Prompt® devise to market, Hutchins negotiated with
a venture capitalist, Jon Lindseth, to license and develop a consumer version of CPR
Prompt®.

20.) While Jon Lindseth operates a privately owned Cleveland company named Kindt-
Collins, he became better known through his success with two ventures that he founded,
the Inz‘erplak toothbrush and Thermoscan thermometer. Interplak, under the corporate
name, Dental Research, sold to Bausch & Lomb in 1988 for $133 million dollars and
Thermoscan to Gillette for an estimated $178 million dollars around 1993.

21.) Jon Lindseth suggested that he would start a new company and raise $14 million, as
the minimum investment needed to bring CPR Prompt® to the consumer market. Jon’s
son, Steve Lindseth would manage this new venture that the Lindseths predicted could
exceed the success Jon had had with Interplak and Thermoscan.

22.) Negotiations with Steve Lindseth to license Hutchins’ Patents for a consumer
version of CPR Prompt® came to an impasse in February of 1994, because Steve wanted

to pay a very low royalty percentage of 2%. A week after Hutchins ended negotiations,

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Jon and Steve called to re-open negotiations Jon explained that the Lindseth’s success
with products like Interplak and Thermoscan came upon exiting the projects. Their plan
would be to build a company around CPR Prompt®, develop the market and divest with
an IPO or sale in about three years.
23.) While Jon Lindseth wanted to retain the low 2% royalty, he sweetened the deal by
offering Hutchins and Hutchins’ CPR Prompt Corporation 7-1/2% of the receipts when
the venture was sold or went public as an IPO. If the new company had the same success
as Thermoscan and Interplak, the share for the CPR Prompt Corporation and Hutchins
could equal over $10 million. Jon said that this was the first time they had ever offered a
patent owner participation in their exit strategy. He was willing to do the 7-1/2% deal if
the royalty payments were low and the Lindseths took total control of the US and foreign
patents and the “CPR Prompt®” trademark.
24.) Hutchins agreed to the 7-1/2% deal and Jon Lindseth communicated the terms to his
attorney, Mark Kaufman of Southland, Asbill and Brennan of Atlanta, Georgia. On May
17, 1994, Attomey Kaufman sent a first draft of the Agreement to Attorney Gary
Martinelli and Hutchins. This draft, attached herein as Exhibit I, correctly stated the
terms that Jon Lindseth and Hutchins had negotiated earlier. Paragraph 3:10 states:

“3:10 LICENSEE will cause each shareholder of LICENSEE who

purchases common stock of LICENSEE directly from LICENSEE to

agree to pay to LICENSOR seven and one--halil percent (7-1/2)

of the net proceeds of any sale of any or all of such common

stock to any person or entity which is not an Afiiliate of

such selling stockholder. . .”
25.) Section 3_10 was later changed in a subsequent draft to accommodate the fact that

County Line Limited was a partnership that continued to include the bird feeder and

Christmas tree product lines. lt was understood that County Line would eventually divest

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itself from the bird feeder and Christmas tree stand products as separate companies and
build a new entity around CPR Prompt®. The 7-1/2% exit strategy would apply to that
new CPR Prompt® entity or continue to apply to County Line Limited and it successors
if CPR Prompt® were not divested and remained with County Line Limited or its
successors and affiliates

26.) Section 3. 10 was changed in the final draft of the Agreement signed June 1, 1994 to
accommodate the fact that County Line Limited was a partnership that continued to
include the bird feeder and Christmas tree product lines Pending divestiture of the bird
feeder and Christrnas tree stand lines; Hutchins agreed to allow the Patents to be held in a
separate entity. When the divestiture occurred and CPR Prompt LLC succeeded County
Line, the License Agreement would be held by and the 7-1/2% applied to the
shareholders of CPR Prompt LLC. When the Complient Corporation succeeded CPR
Prompt LLC the same terms and exit strategy would apply to the new shareholders
because all these companies Were affiliates

27.) In 1995 Hutchins developed the consumer CPR 100 under contract to County Line
Limited. This model was marketed by County Line and the instruction and warrantee
book carried the CPR Prompt Trademark, copyrights and the U.S., Canadian and
European patents owned by Hutchins as herein attached as Exhibit J.

28.) In September of 1994, Attorney Scott Wilson of Calf`ee, Halter and Griswold of
Cleveland, Ohio sent a License Agreement to Attorney Martinelli requesting Hutchins’
signature both as patent owner and as President of the CPR Prompt Corporation.
Recognizing that this License Agreement was a fabrication that completely distorted the

intention of section 3:10 and the 7-1/2% exit distribution formula, Attomey Martinelli

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advised against Hutchins signing or recognizing this Agreement Hutchins never signed
or accepted the validity of the Agreement dated September 19, 1994.

29.) CPR Prompt LLC succeeded County Line Limited after County Line Limited
divested itself of the Christmas tree and bird feeder product lines At that point, all the
products marketed by CPR Prompt Limited carried the CPR Prompt logo. CPR Prompt
LLC submitted the quarterly reports to Hutchins and paid the quarterly royalty payments
under terms of the License Agreement signed June l, 1994. The original shareholders of
County Line Limited continued to participate as shareholders of CPR Prompt LLC.

30.) CPR Prompt LLC was succeeded by the Complient Corporation. The Complient
Corporation continued to assume the responsibilities for royalty payments and quarterly
reports to Hutchins (dba CPR Prompt Corporation) as per Exhibit K.

31.) Using Hutchins’ trademark, patents, copyrights and trade secrets as the primary
asset, the Jon Lindseth group raised over $54 million in venture capital in various stages
through the succession of County Line Limited, CPR Prompt LLC and Complient
Corporation.

32.) Using Hutchins’ trademark, patents, copyrights and trade secrets as the primary
asset, the Jon Lindseth group in October 2003 was able to sell these assets to Cardiac
Science for a reported $47 million.

33.) The $54 million in venture capital plus the $47 million from Cardiac Science
produced over $100 million for the Jon Lindseth group. The trademark, patents,
copyrights and trade secrets that he placed in the hands of the Jon Lindseth group, has

returned nothing to Hutchins.

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34.) On June 5 , 2004 Hutchins sent a letter to Cardiac Science’s representative, Attomey
Randall Skaar, to inform Cardiac Science of the infringement, negligence and breach of
contract violations This effort by Hutchins to resolve these issues has received no
response from Cardiac Science or Attorney Skaar.

35.) These allegations are testified to and supported by an affidavit by Donald C.

Hutchins included herein as Exhibit L.

Count I

(Copyright Infi'ingement)

36.) Hutchins adopts by reference the allegations of paragraphs l through 35.

37.) The software design of the CPR Prompt® currently being sold by the Cardiac
Science, Inc. through Channing Bete and other distributors violates the Copyright Act of
1976 with the use of a series of images and voice commands originally created as
algorithms used for CPR Prompting software copyrighted by Hutchins.

38.) Such terms as “Are you OK” and “Call for help” and graphic instructions
depicting proper compressions, opening of airways, chin lifts and breathing are identical
to the series of images created by Hutchins in his copyrighted material.

39.) Cardiac Science has used Hutchins’ copyrighted expression in the CPR Prompt®
units that they are currently distributing in violation of the Copyright Act of 1976.
Cardiac Science engineers knew of Hutchins’ speech and graphic CPR prompting
software because this software has controlled over 300,000 CPR Prompt® units that have

been sold in the past 18 years

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C_O'!.ll¢_ll
(Patent Inhingement by Means of Sales)

40.) Hutchins adopts by reference the allegations of paragraphs 1 through 39.
41.) Cardiac Science has not licensed or sub-licensed any intellectual properties horn
Hutchins.
42.) Hutchins has not agreed to any transfer of his intellectual properties to Cardiac
Science by Complient or any other licensee of Hutchins’ intellectual properties
43.) Cardiac Science has infringed Claims 1, 2, 3, 4, 5, 6, 7, 8, 9, lO, ll, 12, 13, 14,
15, 16 of Patent RE 34,800 through the illegal sale of CPR Prompt® units not authorized
by Hutchins as patent owner.

Connt III

(Patent Infringement by Means of Manufacture)

44.) Hutchins adopts by reference the allegations of paragraphs 1 through 43.
45.) Cardiac Science has infringed Claims l, 2, 3, 4, 5, 6, 7, 8, 9, 10, ll, 12, 13, 14,
15, 16 of Patent RE 34,800 through the illegal manufacture of CPR Prompt® units not
authorized by Hutchins as patent owner.

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(Negligence)

46.) Hutchins adopts by reference the allegations of paragraphs 1 through 45.
47.) Cardiac Science as a publicly traded company under rules of the SEC owed a duty
to its shareholders the Complient Corporation and Hutchins to perform sufficient due
diligence to know and understand the assets being acquired from the Complient

Corporation.

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48.) Cardiac Science was negligent in not performing sufficient due diligence when
evaluating the License Agreement dated June l, 1994 between Hutchins and County Line
Lirnited. Cardiac Science had a duty to Hutchins to understand that Complient should
communicate terms of the acquisition to Hutchins and to demand of Complient that such
action be accomplished before completing the asset acquisition

49.) Cardiac Science was negligent not performing sufficient due diligence in reading
and understanding the License Agreement dated June l, 1994 between Hutchins and
County Line Limited to understand that Hutchins was due 7-1/2 % of the proceeds of the
sale to Cardiac Science.

50.) By completing the acquisition with no understanding of the terms of the License
Agreement dated June 1, 1994, Cardiac Science has caused great financial damage to
Hutchins. Hutchins can recover in part from these damages if Cardiac Science meets the
terms of the License Agreement that they have acquired from Complient and for which
they are now responsible

51.) When the payment of the $47,000,000 acquisition cost is paid Cardiac Science to
Complient stockholders it will be impossible for Hutchins to chase down every one of
these stockholders to recover his 7-1/2 % share from each of them. Therefore it is
incumbent upon Cardiac Science to retain sufficient funds from the stock transfer trust
account to pay Hutchins this 7-1/2%. If this trust account is depleted, the Cardiac
Science management must search-out each Complient stockholder in the future to reclaim

the funds owed to Hutchins.

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Count V
(Negligence)

52.) Hutchins adopts by reference the allegations of paragraphs l through 51.
53.) Cardiac Science was negligent not performing sufficient due diligence in reading
and understanding a License Agreement dated September 19, l994. It is self-evident that
this September 19, 1994 License Agreement, as found in the SEC 8K Report, does not
bear Hutchins’ signature and is not valid as it relates to Hutchins’ intellectual properties..
54.) Cardiac Science relied on this document when attempting to acquire Hutchins’
intellectual properties from Complient. Cardiac Science was misled by Complient into
believing the License Agreement dated September 19, 1994 and referenced in the SEC
8K filing is legitimate However, the negligence of Cardiac Science in not practicing
even a minimum standard of due diligence while inspecting this document has led to this
debacle that is causing extensive financial damage to Hutchins.

Count VI

(Breach of Contract)

55.) Hutchins adopts by reference the allegations of paragraphs l through 54.
5 6.) Should the Court accept the unfounded position, that Cardiac Science is the
successor to Complient in terms of the License Agreement dated June 1, 1994; the Court
should understand that Cardiac Science has not met and is not meeting the terms of that

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57.) Cardiac Science has not met the terms of the License Agreement dated June 1,
1994 with regard to royalty payments, minimum yearly payments and quarterly reports
to Hutchins.
58.) Cardiac Science has failed to pay patent fees to Fish & Richardson as Complient
and its predecessors have done since 1995. Hutchins has been forced to accept this
burden to prevent having the patents lapse.
59.) As the successor to Complient, Cardiac Science is responsible for guaranteeing
that the terms of the Agreement are being met. In the event of a sale of the License to a
party not related to the Jon Lindseth group, the Agreement states that Hutchins will
receive 7-1/2 % of proceeds from the sale from each individual stockholder. This
obligation could easily be met by Cardiac Science by diverting 7-1/2% of the stock that
they are transferring to the Complient Corporation, to Hutchins. It is the responsibility of
Cardiac Science as the successor to County Line/CPR Prompt LLC and Complient to
fulfill this obligation
WHEREFORE, (Hutchins) prays that judgment be entered in his favor as
follows:
(a) On Count I, that a judgment be entered against the Defendant in the sum
of $120,000 plus interest and costs as fixed by the Court and that the
Defendant be ordered to cease any further infringement of Hutchins’
Copyright.
(b) On Count II, that a judgment be entered against the Defendant in the sum

of $150,000 plus interest and costs as fixed by the Court and that the

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(C)

(d)

(e)

(f)

(s)

Defendant be ordered to cease any further infringement of Hutchins’
Patents RE 34,800 and 5,913,685.

On Count III, that a judgment be entered against the Defendant in the sum
of $150,000 plus interest and costs as fixed by the Court and that the
Defendant be ordered to cease any further infringement of Hutchins
Patents RE 34,800 and 5,913,685.

Gn Count IV, that a judgment be entered against the Defendant for
damages in the sum of $3,525,000 plus interest and costs as fixed by the
Court. This figure represents 7-1/2% of the proceeds of the sale to
Cardiac Science.

On Count V, that a judgment be entered against the Defendant for
damages in the sum of $3,525,000 plus interest and costs as fixed by the
Court. This figure represents a 7-1/2% of the proceeds of the sale to
Cardiac Science.

On Count VI, that a judgment be entered against the Defendant
recognizing that Cardiac Science has no right to Hutchins’ intellectual
properties that Hutchins has reclaimed from County Line Limited and its
successors as parties to the Agreement with Hutchins dated June 1, 1994.
On Count VI, should the Court accept the position that Cardiac Science is
the successor to Complient in terms of the License Agreement dated June
1, 1994, that judgement be entered that Cardiac Science divert 7-1/2% of
the stock that they are transferring as payment to the Complient

Corporation, to Hutchins.

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(h) The infringements1 negligence and breach of contract was willful on the
part of the Defendant and continued after notification by Hutchins and
without any belief by Cardiac Science that Hutchins’ Patents #4,583,524,
#Re34,800 and #5,913,685 were not valid. That Cardiac Science
contemptuously infringed on Hutchins’ intellectual properties with the
mistaken belief that Hutchins, as “the little guy,” could not afford the legal
costs to protect these properties through the federal court system. On any
and all Counts that a judgment be entered against the Defendant to
increase damages up to three times the damages assessed in accordance
Title 35 United States Code, Section 285.

60.) Demand for Trial by Jury.

The Plaintiff, DONALD C. HUTCHINS, Pro Se

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‘£I"lii'}' Lorigmeadow Street
Longmeadow, Massachusetts 01 106
(413) 734-2625
(413) 73 9»4060 (facsimile)

CERTIFICATE OF SERVICE
I, Richard J. Moriarty, 43 Greenacre Avenue, Longmeadow, Massachusetts
01106, hereby certify that I served a copy of the foregoing on the appropriate party by

sending a copy by registered mail to: Cardiac Science, Inc., 1900 Main Street, Suite 700,
lrvine, CA 92614, Attn: Mr. Raymond W. Cohen, ChiefExecutive Officer.

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